276 F.2d 928
    G. K. W., INC., and Abe Friedel, Plaintiffs-Appellants,v.PHILCO CORPORATION et al., Defendants-Appellees.Benjamin KATZOFF et al., Plaintiffs-Appellants,v.ADMIRAL CORPORATION et al., Defendants-Appellees.
    No. 227.
    No. 228.
    Docket 25969.
    Docket 25970.
    United States Court of Appeals Second Circuit.
    Argued March 10, 1960.
    Decided April 4, 1960
    
      J. Robert Ellner, of Swiger, Chambers, Kelley &amp; Harragan, New York City (Robert E. Nickerson, of Ivey, Barnum, O'Mara &amp; Nickerson, Greenwich, Conn., on the brief), for plaintiffs-appellants.
      A. Vernon Carnahan, of Donovan, Leisure, Newton &amp; Irvine, New York City (James M. Ellis, of Donovan, Leisure, Newton &amp; Irvine, New York City, on the brief), for defendants-appellees Philco Corporation and Philco Distributors, Inc.
      William D. Friedmann, of O'Brien, Driscoll &amp; Raftery, New York City (George A. Raftery, of O'Brien, Driscoll &amp; Raftery, New York City, on the brief), for defendants-appellees Admiral Corporation and Admiral Corporation New York Distributing Division, Inc.
      Before CLARK, WATERMAN, and LEWIS,* Circuit Judges.
      PER CURIAM.
    
    
      1
      In these two antitrust and price-discrimination actions, the district court has entered orders of dismissal for failure to prosecute, which, however, in one case have left the action standing as to one partnership plaintiff and both defendants, and in the other case as to one partnership plaintiff and one defendant. In neither case did the court enter the determination and direction for entry of judgment requisite for finality under the express language of F.R. 54(b). Without that the judgments are not appealable. See 3 Barron &amp; Holtzoff, Federal Practice and Procedure § 1193.2 and note 56.9 (Wright Ed.); 6 Moore's Federal Practice 245, 246, and note 7 (2d Ed.1953); cf. Goldlawr v. Heiman, 2 Cir., 273 F.2d 729. The appeals are therefore dismissed.
    
    
      
        Notes:
      
      
        *
         Of the Tenth Circuit, sitting by designation
      
    
    